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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

VERSATA SOFTWARE, INC.                           §
VERSATA DEVELOPMENT GROUP,                       §
INC., and VERSATA COMPUTER                       §
INDUSTRY SOLUTIONS, INC.                         §
                                                 §
                                                            Case No. 2:07cv153-RSP
       v.                                        §
                                                 §
SAP AMERICA, INC., and SAP AG                    §


                                   MEMORANDUM ORDER


       Currently before the Court is the “Motion of SAP America, Inc. and SAP AG For Relief

From Judgment Under Fed. R. Civ. P. 59(e) or 60(b) Or For A Stay” (Dkt. No. 598), filed on

January 21, 2014 and renewed on March 27, 2014 (Dkt. No. 615).

Request for a stay:

       Defendants seek a stay on three grounds, each of which will be addressed in turn: (1)

based on the “Stipulated Order on Execution of Judgment,” (2) based upon the pendency of the

Executive Benefits case in the U.S. Supreme Court and (3) based on the proceedings before the

Patent Trial and Appeal Board (“PTAB”). First, the Stipulated Order on Execution of Judgment

(Dkt. No. 582) deals only with execution of the judgment and provides no basis whatsoever for a

stay of these proceedings. Second, the Petition for Writ of Certiorari granted by the U.S.

Supreme Court in Executive Benefits Ins. Agency v. Arkison, 133 S.Ct. 2880 (June 24, 2013) (See

Petition at 2013WL1329527), deals only with the power of bankruptcy courts, and is not likely

to directly reach the power of the district courts to assign trials to magistrate judges by consent,

an issue not before the Court in that case.

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       The third ground urged for a stay is the pendency of a PTAB proceeding challenging the

validity of the asserted claims of the patent in suit under a covered business method (CBM)

patent review. Defendants assert that the PTAB has issued a non-final decision that the asserted

claims are invalid. Of course, on the other hand, there is a final judgment in this case finding

that the claims are valid. The CBM review process was created by the Leahy–Smith America

Invents Act (“AIA”), Pub.L. No. 112–29, 125 Stat. 284, which directs district courts to consider

the following factors in determining whether to stay their proceedings in favor of the PTAB:

       A) whether a stay, or the denial thereof, will simplify the issues in question and

       streamline the trial;

       (B) whether discovery is complete and whether a trial date has been set;

       (C) whether a stay, or the denial thereof, would unduly prejudice the nonmoving party or

       present a clear tactical advantage for the moving party; and

       (D) whether a stay, or the denial thereof, will reduce the burden of litigation on the

       parties and on the court.

       The Court finds that all four of these factors counsel against a stay in this case. There are

no remaining issues in this case to simplify. The trial has been held and the appeal is completed.

A stay would clearly unduly prejudice the nonmoving party and provide a clear tactical

advantage for the moving party. Moreover, a stay would not reduce the burden of litigation on

the parties or the Court. Finally, the fact that the Federal Circuit has already denied Defendants’

request for a stay pending completion of the PTAB proceedings weighs heavily against

Defendants’ request. Accordingly, the request for a stay is DENIED.




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Request to vacate the judgment under Rule 60(b):

       Rule 60(b) allows a district court “on motion and just terms” to “relieve a party ... from a

final judgment” for certain enumerated reasons. Defendants’ motion is based in part upon

section (b)(5) of Rule 60, which permits relief if “the judgment has been satisfied, released or

discharged; it is based on an earlier judgment that has been reversed or vacated; or applying it

prospectively is no longer equitable.” Defendants’ argument that this judgment is being applied

“prospectively” because it is continuing to accrue post-judgment interest is frivolous. That

section is clearly aimed at judgments containing injunctive relief. It might be extended to future

awards of damages or fees, but it would render it meaningless to apply it to any money judgment

accruing interest.

       Defendants also urge application of the catchall provision in Rule 60(b)(6): “any other

reason that justifies relief.” While this is a patent case, the Federal Circuit has held that a Rule

60(b) motion is purely procedural and not unique to patent law, therefore it is governed by the

law of the regional circuit, in this case the Fifth Circuit. Marquip, Inc. v. Fosber America, Inc.,

298 F.3d 1363, 1369 (Fed. Cir. 1999). The Fifth Circuit has held that this “other reason” clause

is reserved for “extraordinary cases.” Gray v. Estelle, 574 F.2d 209, 215 (5th Cir.1978) (citing

Ackerman v. United States, 340 U.S. 193, 200, 71 S.Ct. 209, 212, 95 L.Ed. 207, 212 (1950); and

11 Wright & Miller, Federal Practice and Procedure § 2864).

       While there is no concrete definition of “extraordinary circumstances” in the context of

Rule 60, the fact that the Defendants have obtained a contrary determination regarding the

validity of the asserted patent in another forum does not appear to present such circumstances.

Defendants have taken advantage of a full and fair opportunity to litigate the validity of the


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patent before this Court, before the jury, and before the Federal Circuit, even pursuing a writ to

the United States Supreme Court. To hold that later proceedings before the PTAB can render

nugatory that entire process, and the time and effort of all of the judges and jurors who have

evaluated the evidence and arguments would do a great disservice to the Seventh Amendment

and the entire procedure put in place under Article III of the Constitution. The proceedings

before the PTAB are not even final at this time, but this Court does not believe that later finality

will change this calculus. Indeed, it is the finality of the judgments issued by the Federal Courts

that is at stake here. Unlike the situation before the Court in Fresenius USA, Inc. v. Baxter

Intern., Inc., 721 F.3d 1330 (Fed. Cir. 2013), the judgment in this case is final and there are no

 further issues to be resolved. That fact also clearly distinguishes this case from that before the
.
 Fifth Circuit in Bros. Inc. v. W. E. Grace Mfg. Co., 320 F.2d 594 (5th Cir. 1963).

        Defendants rely heavily on the amount of the judgment in arguing for a stay. However,

the jury’s damage award has been closely reviewed by both this Court and the Federal Circuit

and found to be proper. There is also no showing that the amount of the judgment would cause

undue harm to the Defendants. Indeed, the affidavit of the Chief Financial Officer of Defendant

SAP AG represents that it “has the financial wherewithal to satisfy the Judgment due to

Plaintiffs” and will do so by wire transfer within 15 days of finality. (Dkt. No. 583-1 at 3).

        Accordingly, the motion to vacate the Judgment is also DENIED.
        SIGNED this 3rd day of January, 2012.
        SIGNED this 20th day of April, 2014.




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                                                     ROY S. PAYNE
                                                     UNITED STATES MAGISTRATE JUDGE

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